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19   PAC Operating Limited Partnership

20
                                 UNITED STATES DISTRICT COURT
21
                                CENTRAL DISTRICT OF CALIFORNIA
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                                           EASTERN DIVISION
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                                      Stipulated Dismissal with Prejudice
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     FRANK SINGH,                                                 Case No.: 5:19-cv-02292-JGB-SP
 1
 2                          Plaintiff,
                                                                  STIPULATED DISMISSAL WITH
 3   v.                                                           PREJUDICE
 4
     NEW BALANCE ATHLETICS, INC., as an
 5   entity and doing business as “New Balance Factory
     Store Ontario”, PAC OPERATING LIMITED
 6
     PARTNERSHIP, and DOES 1-50, Inclusive,
 7
                            Defendants.
 8
 9
              IT IS HEREBY STIPULATED by and between the parties in this action through their
10
     designated counsel, that this action be and is hereby dismissed in its entirety, WITH PREJUDICE,
11
     pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii). The parties shall bear their own costs
12
     and attorney fees in connection with the lawsuit and the negotiation and preparation of any
13
     agreement entered into by such parties.
14
15
16
     Date: August 7th, 2020                                            /s/Daniel Malakauskas______________
17                                                                     By: Daniel Malakauskas, of,
                                                                       MALAKAUSKAS LAW, APC,
18                                                                     Attorney for Plaintiff
19
     Date: August 7th, 2020                                            /s/Elyza P. Eshaghi________________
20                                                                     By: Elyza P. Eshaghi, of,
                                                                       JACKSON LEWIS PC, Attorney for
21                                                                     Defendants, New Balance Athletics,
22                                                                     Inc., and PAC Operating Limited
                                                                       Partnership
23
            All signatories on whose behalf the filing is submitted concur in the filing’s content and have
24   authorized the filing.
25
26
     4824-3124-1415, v. 1
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                                         Stipulated Dismissal with Prejudice
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